                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,
                 Plaintiff,                           No. 22-CR-2019 CJW-MAR
 vs.                               ORDER REGARDING MAGISTRATE
                                         JUDGE’S REPORT AND
 HOUSTON SIMMONS, III,
                                          RECOMMENDATION
           Defendant.                CONCERNING DEFENDANT’S
                                            GUILTY PLEA
                       ____________________

                    I.        INTRODUCTION AND BACKGROUND
       On May 18, 2022, a two-count Superseding Indictment was filed against defendant
and one other person. Defendant was charged in count one. On December 15, 2022,
defendant appeared before United States Magistrate Judge Mark A. Roberts and entered
a conditional plea of guilty to count one of the Superseding Indictment. On December
15, 2022, Judge Roberts filed a Report and Recommendation in which he recommended
that defendant’s guilty plea be accepted. On December 15, 2022, defendant filed a
waiver of objections to the Report and Recommendation. (Doc. 113). The Court,
therefore, undertakes the necessary review of Judge Roberts’ recommendation to accept
defendant’s plea in this case.
                                    II.      ANALYSIS
       Pursuant to statute, this Court’s standard of review for a magistrate judge’s report
and recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the
              court may accept, reject, or modify, in whole or in part, the
              findings or recommendations made by the magistrate judge.




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28 U.S.C. § 636(b)(1)(C). Where parties make no objections to a magistrate’s report
and recommendation, the Court reviews the magistrate’s report and recommendation
for clear error. 28 U.S.C. § 636(b)(1)(A). Similarly, Federal Rule of Criminal
Procedure 59(b) provides for review of a magistrate judge’s report and recommendation
on dispositive motions, where objections are made, as follows:
              The district judge must consider de novo any objection to the
              magistrate judge’s recommendation. The district judge may
              accept, reject, or modify the recommendation, receive further
              evidence, or resubmit the matter to the magistrate judge with
              instructions.

FED. R. CRIM. P. 59(b)(3).1
      In this case, defendant filed a waiver of objections to the report and
recommendation, and it appears to the Court upon review that Judge Roberts’ findings
and conclusions are not clearly erroneous. Therefore, the Court ACCEPTS Judge
Roberts’ Report and Recommendation of December 15, 2022, and ACCEPTS
defendant’s conditional plea of guilty in this case to count one of the Superseding
Indictment.
      IT IS SO ORDERED this 15th day of December, 2022.


                                          ____________________________
                                          C.J. Williams
                                          United States District Judge
                                          Northern District of Iowa



1
  United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016) (per curiam),
suggests that a defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed.



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